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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                     )
In re:                               )
                                     )                                     Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,   )
                                     )                                     Case No. 19-34054 (SGJ)
            Reorganized Debtor.      )
                                     )
                                     )
HIGHLAND CAPITAL MANAGEMENT, L.P.    )
                                     )
                 Plaintiff,          )
vs.                                  )                                     Adv. Pro. No. 21-03003 (SGJ)
                                     )
JAMES D. DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST,        )
                                     )
               Defendants.           )
                                     )

                                      CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
above-captioned case.

        On September 7, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Order Approving Stipulation Governing Discovery and Other Pre-Trial Issues
         [Docket No. 86]

Dated: September 10, 2021
                                                     /s/ Esmeralda Aguayo
                                                     Esmeralda Aguayo
                                                     KCC
                                                     222 N Pacific Coast Highway, Suite 300
                                                     El Segundo, CA 90245


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                  Exhibit A
                                                            Adversary Service List
                                                           Served via Electronic Mail


             Description                     CreditorName                 CreditorNoticeName                             Email
                                                                                                       john@bondsellis.com;
                                                                                                       john.wilson@bondsellis.com;
                                                                  John Y. Bonds, III, John T. Wilson, bryan.assink@bondsellis.com;
                                    Bonds Ellis Eppich Schafer    IV, Bryan C. Assink, Clay M. Taylor, clay.taylor@bondsellis.com;
 Counsel for James Dondero          Jones LLP                     William R. Howell, Jr.               william.howell@bondsellis.com
 Financial Advisor to Official                                    Earnestiena Cheng, Daniel H          Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors   FTI Consulting                O'Brien                              Daniel.H.O'Brien@fticonsulting.com
 Counsel for Nancy Dondero          Greenberg Traurig, LLP        Daniel P. Elms                       elmsd@gtlaw.com
                                                                  Melissa S. Hayward, Zachery Z.       MHayward@HaywardFirm.com;
 Counsel for the Debtor             Hayward & Associates PLLC Annable                                  ZAnnable@HaywardFirm.com
                                                                                                       ddraper@hellerdraper.com;
 Counsel for the Dugaboy Investment                               Douglas S. Draper, Leslie A.         lcollins@hellerdraper.com;
 Trust and Get Good Trust           Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy            gbrouphy@hellerdraper.com
 Counsel for UBS Securities LLC and                                                                    andrew.clubok@lw.com;
 UBS AG London Branch               Latham & Watkins LLP          Andrew Clubok, Sarah Tomkowiak sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC and                                                                    asif.attarwala@lw.com;
 UBS AG London Branch               Latham & Watkins LLP          Asif Attarwala, Kathryn K. George Kathryn.George@lw.com
 Counsel for UBS Securities LLC and                                                                    jeff.bjork@lw.com;
 UBS AG London Branch               Latham & Watkins LLP          Jeffrey E. Bjork, Kimberly A. Posin kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                    Zachary.Proulx@lw.com;
 UBS AG London Branch               Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine        Jamie.Wine@lw.com
                                                                                                       mclemente@sidley.com;
                                                                  Matthew Clemente, Alyssa Russell, alyssa.russell@sidley.com;
 Counsel for Official Committee of                                Elliot A. Bromagen, Dennis M.        ebromagen@sidley.com;
 Unsecured Creditors                Sidley Austin LLP             Twomey                               dtwomey@sidley.com
                                                                                                       preid@sidley.com;
                                                                  Penny P. Reid, Paige Holden          pmontgomery@sidley.com;
 Counsel for Official Committee of                                Montgomery, Juliana Hoffman,         jhoffman@sidley.com;
 Unsecured Creditors                Sidley Austin LLP             Chandler M. Rognes                   crognes@sidley.com
 Counsel for Defendants James                                     Deborah Deitsch-Perez, Michael P. deborah.deitschperez@stinson.com;
 Dondero and Nancy Dondero          Stinson LLP                   Aigen                                michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                           Exhibit B
                                                                     Adversary Service List
                                                                   Served via First Class Mail

              Description                    CreditorName                  CreditorNoticeName                    Address1                City     State    Zip
                                                                   John Y. Bonds, III, John T. Wilson,
                                     Bonds Ellis Eppich Schafer    IV, Bryan C. Assink, Clay M.        420 Throckmorton Street,
  Counsel for James Dondero          Jones LLP                     Taylor, William R. Howell, Jr.      Suite 1000                    Fort Worth   TX      76102
                                                                                                       2200 Ross Avenue, Suite
  Counsel for Nancy Dondero          Greenberg Traurig, LLP        Daniel P. Elms                      5200                          Dallas       TX      75201
  Counsel for the Dugaboy Investment                               Douglas S. Draper, Leslie A.        650 Poydras Street, Suite
  Trust and Get Good Trust           Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy           2500                          New Orleans LA       70130
  Counsel for UBS Securities LLC and                                                                   555 Eleventh Street, NW,
  UBS AG London Branch               Latham & Watkins LLP          Andrew Clubok, Sarah Tomkowiak Suite 1000                         Washington   DC      20004
  Counsel for UBS Securities LLC and                                                                   330 North Wabash Avenue,
  UBS AG London Branch               Latham & Watkins LLP          Asif Attarwala, Kathryn K. George Ste. 2800                       Chicago      IL      60611
  Counsel for UBS Securities LLC and
  UBS AG London Branch               Latham & Watkins LLP          Jeffrey E. Bjork, Kimberly A. Posin 355 S. Grand Ave., Ste. 100   Los Angeles CA       90071
  Counsel for UBS Securities LLC and                                                                   1271 Avenue of the
  UBS AG London Branch               Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine       Americas                      New York     NY      10020
  Counsel for Defendants James                                     Deborah Deitsch-Perez, Michael P. 3102 Oak Lawn Avenue,
  Dondero and Nancy Dondero          Stinson LLP                   Aigen                               Suite 777                     Dallas       TX      75219




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